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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ANDRE BOYER and PENNSYLVANIA
 S.I.T.E.S. AGENTS, LLC,

                       Plaintiffs,

        v.                                          Civil Action No. 5:23-02885-JLS

 CITY OF PHILADELPHIA, et al.,

                       Defendants.



                                            ORDER

       AND NOW, this ____ day of _____________, 20___, upon consideration of Defendants

City of Philadelphia, Sheriff Rochelle Bilal, Marcus O’Shaughnessy, William O’Leary, Frank T.

Wallace, Lieutenant Long, James Poulos, Anthony Glaviano, and Wanda Newsome’s Motion to

Dismiss, and any response thereto, it is ORDERED that Plaintiffs’ Second Amended Complaint

is dismissed with prejudice against these Defendants.



                                                          BY THE COURT:


                                                                                      J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ANDRE BOYER and PENNSYLVANIA
 S.I.T.E.S. AGENTS, LLC,

                       Plaintiffs,

        v.                                           Civil Action No. 5:23-02885-JLS

 CITY OF PHILADELPHIA, et al.,

                       Defendants.


                       CITY DEFENDANTS’ MOTION TO DISMISS

       Defendants City of Philadelphia, Sheriff Rochelle Bilal, Marcus O’Shaughnessy, William

O’Leary, Frank T. Wallace, Lieutenant Long, James Poulos, Anthony Glaviano, and Wanda

Newsome (“City Defendants”), by their undersigned attorneys, move for an order dismissing

Plaintiffs’ Second Amended Complaint with prejudice pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). Defendants respectfully submit that such relief is warranted for

the reasons set forth in the accompanying memorandum of law.


                                             Respectfully submitted,

                                             CITY OF PHILADELPHIA LAW DEPARTMENT
Dated: December 18, 2023                     KRISTIN BRAY, Acting City Solicitor


                                             /s/ Danielle B. Rosenthal
                                             Danielle B. Rosenthal (PA 329676)
                                             Deputy City Solicitor, Civil Rights Unit
                                             Jennifer MacNaughton (PA 88424)
                                             Senior Attorney, Appeals
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                                             Deputy City Solicitor, Affirmative & Special
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                                             City of Philadelphia Law Department
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                              2
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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ANDRE BOYER and PENNSYLVANIA
S.I.T.E.S. AGENTS, LLC,

                 Plaintiffs,

     v.                                 Civil Action No. 5:23-02885-JLS

CITY OF PHILADELPHIA, et al.,

                 Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF CITY DEFENDANTS’ MOTION TO
                          DISMISS
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I.     INTRODUCTION

       Andre Boyer has had repeated run-ins with law enforcement due to his poor choices in

how he carries a firearm. He lost his license to carry in 2016 for bringing a firearm into a

courthouse, which is prohibited by law. Undeterred, he continued to illegally carry a firearm in

Philadelphia. This resulted in his arrests in December 2019 and October 2021. Unsurprisingly, as

a result the City rejected his 2023 application for a new license to carry.

       Now Boyer has filed this lawsuit attempting to invalidate several core provisions of

Pennsylvania firearms law and alleging various constitutional and common-law torts against a

long list of defendants, including the City of Philadelphia (“City”), Sheriff Rochelle Bilal,

Marcus O’Shaughnessy, William O’Leary, Frank T. Wallace, Lieutenant Long, James Poulos,

Anthony Glaviano, and Wanda Newsome (collectively, the “City Defendants”). In framing his

claims, he summarily alleges that his legal troubles were not the consequences of his own

actions, but instead were the product of a vast conspiracy against him due to his publication of a

web page critical of the Philadelphia Police Department (“PPD”).

       As demonstrated below, Boyer fails to state any viable claims against any of the City

Defendants. The Court should dismiss his Second Amended Complaint (“SAC”).

II.    BACKGROUND

       A.      Relevant Factual Allegations1

       Boyer works as an internal investigator and security guard for a private hotel in the City.

SAC ¶ 123. Boyer is the sole member of Plaintiff Pennsylvania S.I.T.E.S. Agents, LLC, which

operates a referral website for private detectives. Id. ¶¶ 126-27. Boyer and his LLC are involved

in private detective and security work, including conducting citizens arrests, investigating


       1
        The City Defendants accept the truth of Boyer’s well-pleaded factual allegations for
purposes of this pleading only.


                                                  1
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complaints, and protecting employees and guests at the hotel. Id. ¶¶ 42-43, 123, 126-27. Boyer

holds a lethal weapons training certification, otherwise known as an Act 235 certification, under

the Lethal Weapons Training Act. Id. ¶ 41; see 22 P.S. §§ 44, 47.

        Serpico News. In 2013, Boyer created “an online news service dedicated to the subject of

police corruption” called Serpico News. SAC ¶¶ 44-47. Because of his involvement with Serpico

News, Boyer claims that the PPD, the Philadelphia Office of the Sheriff, and the Fraternal Order

of Police Lodge No. 5 (“FOP”) view him as “a political enemy.” Id. ¶¶ 45, 47. Boyer alleges

summarily that the FOP “has requested of, and formed agreements with, the Defendants (or with

any of them) to engage in a pattern of personal animus against Boyer and . . . to repeatedly look

for any pretext to violate his rights.” Id. ¶ 47.

        2016 License Revocation. Prior to 2016, Boyer held a license to carry firearms under the

Pennsylvania Uniform Firearms Act (“UFA”). SAC ¶ 49. The City revoked this license in 2016

after Boyer unlawfully carried his firearm into a courthouse. Id. ¶ 50 & Ex. D. Although Boyer

challenged the revocation, the Philadelphia Board of License & Inspection Review, the

Philadelphia Court of Common Pleas, and the Commonwealth Court affirmed the revocation,

making it a final order.2 Id. ¶¶ 51, 93; Boyer v. City of Phila. Bd. of License & Inspection Rev.,

1773 C.D. 2017, 2018 WL 6836112 (Pa. Cmwlth. Dec. 31, 2018). Boyer concedes he has not

been re-issued a UFA firearm license. Even so, Boyer has continued to carry firearms in public.

See, e.g., SAC ¶¶ 74-77, 80.

        December 2019 Incident. On December 5, 2019, Boyer went to the 35th Police District



        2
         Boyer takes issue with the evidence presented in that hearing, the Board’s findings, and
the manner in which the hearing was conducted, however, such allegations are a collateral attack
on those state court proceedings and improperly raised in this venue. See, e.g., In re Highway
Truck Drivers & Helpers Loc. Union No. 107, 888 F.2d 293, 298-99 (3d Cir. 1989) (valid state
court judgment entitled to full faith and credit).


                                                    2
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Headquarters to “surrender property,” then began to record a Serpico News video in the lobby.

Id. ¶ 60. At that time, Defendant PPD Sgt. O’Shaughnessy saw Boyer with a gun in his holster.

Id. ¶¶ 61-62. In response, Sgt. O’Shaughnessy or “someone acting on his behalf” obtained an

arrest warrant, executed on December 6, 2019, by Defendants PPD Lt. Long and PPD Det.

Wallace, who also seized Boyer’s cell phone. Id. ¶¶ 62, 64-66. Defendants PPD Detectives

Glaviano and Poulos executed a search warrant for Boyer’s home, also based on Sgt.

O’Shaughnessy’s affidavit. Id. ¶ 69. Boyer does not allege they seized any property.

       On December 7, 2019, Boyer was charged with violating 18 Pa. C.S. § 6108, prohibiting

persons from carrying a firearm on the public streets or any public property in Philadelphia

without a license. SAC ¶ 70. After a municipal court judge dismissed this charge for lack of

prosecution, the Philadelphia District Attorney’s Office (“DAO”) refiled charges, at which point

unnamed officers arrested Boyer and confiscated his firearm. Id. ¶¶ 78-80. On March 15, 2023, a

municipal court judge entered judgment in Boyer’s favor for unstated reasons. Id. ¶ 81.

       March 2021 Arrest. On March 12, 2021, unknown officers arrested Boyer after a dispute

with a member of a public at the Boyer’s place of employment, and he was charged with simple

assault. Id. ¶¶ 72-73. The charges were dismissed for unstated reasons. Id. ¶ 73.

       October 2021 CJC Incident. On October 19, 2021, Boyer went to the Criminal Justice

Center (“CJC”) to testify in a case. Id. ¶ 74. Boyer arrived at the CJC with a holstered firearm,

which he checked in the CJC gun locker. Id. ¶¶ 75-76. When Boyer went to retrieve his firearm,

Defendant O’Leary, a Philadelphia Sheriff’s Office lieutenant, asked whether Boyer had a

license to carry. Id. ¶ 77. When Boyer responded that he had only an Act 235 certification, Lt.

O’Leary arrested Boyer and seized his firearm. Id. ¶ 77. It is unclear from Boyer’s allegations if

he was prosecuted as a result.




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       2023 Application Denial. In 2023, Boyer applied for a UFA firearm license, which was

denied pursuant to a notice signed by Defendant PPD Lt. Newsome with the Gun Permit Unit.

Id. ¶¶ 91-92 & Ex. E. The stated reason for denial was that Boyer’s “character and reputation

[was] such that the individual would be likely to act in a manner dangerous to public safety.” Id.

¶ 93. The notice cited Boyer’s multiple arrests for violating the UFA, his arrest for simple

assault, and the 2016 affirmance of his license revocation by the Court of Common Pleas. Id.

       B.      Procedural History

       Boyer initially filed the instant suit on July 27, 2023, against the City, the DAO, DA

Lawrence S. Krasner, the Office of the Sheriff, Sheriff Rochelle Bilal, Pennsylvania Attorney

General Michelle A. Henry, State Police Commissioner Robert Evanchick, the FOP, Marcus

O’Shaughnessy, Lloyd O’Leary, Frank T. Wallace, Lieutenant Long, James Poulos, Anthony

Glaviano, and Wanda Newsome. Boyer amended his complaint twice, in the process adding,

changing, and removing parties. See ECF Nos. 9, 18. The operative SAC is brought on behalf of

Boyer and Pennsylvania S.I.T.E.S. Agents, LLC against the City of Philadelphia, the Office of

the Sheriff,3 Sheriff Rochelle Bilal, Marcus O’Shaughnessy, William O’Leary, Frank T.

Wallace, Lieutenant Long, James Poulos, Anthony Glaviano, Wanda Newsome, the DAO, DA

Krasner, and the FOP. The lawsuit seeks declaratory and injunctive relief, as well as damages.

       The following claims in the SAC are brought against one or more of the City Defendants:

   •   Counts 1 & 2: Boyer brings these § 1983 claims for declaratory and injunctive relief
       against the City and Sheriff Bilal, challenging the constitutionality of certain provisions
       of the UFA (18 Pa. C.S. §§ 6101 et seq.) and 18 Pa. C.S. § 913.

   •   Count 6: Boyer brings a § 1983 claim for damages against the City, Sgt. O’Shaughnessy,


       3
         Boyer named the Philadelphia Sheriff’s Office as a defendant, but the Sheriff’s Office is
a department of the City and not a separate legal entity subject to suit. See 53 P.S. § 16257;
Russell v. City of Phila., 428 Fed. Appx. 174, 177 (3d Cir. 2011). The Sheriff’s Office should
accordingly be dismissed as a defendant.


                                                 4
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           Lt. O’Leary, Det. Wallace, Lt. Long, Det. Poulos, Det. Glaviano, and Lt. Newsome for
           allegedly violating his right to be free from retaliation under the First Amendment to the
           U.S. Constitution.

       •   Count 7: Boyer brings a § 1983 claim for damages against City, Sgt. O’Shaughnessy, Lt.
           O’Leary, Det. Wallace, Lt. Long, Det. Poulos, Det. Glaviano, and Lt. Newsome for
           allegedly violating his rights under the Second Amendment to the U.S. Constitution.

       •   Count 8: Boyer brings a § 1983 claim for damages against the City, Sgt. O’Shaughnessy,
           Lt. O’Leary, Det. Wallace, Lt. Long, Det. Poulos, Det. Glaviano, and Lt. Newsome for
           allegedly violating his right to be free from unreasonable seizures under the Fourth
           Amendment to the U.S. Constitution.

       •   Counts 9 & 10: Boyer brings § 1983 and state-law malicious prosecution claims for
           damages against the City (§ 1983 claim only), Sgt. O’Shaughnessy, Lt. O’Leary, Det.
           Wallace, Lt. Long, Det. Poulos, and Det. Glaviano.

       •   Count 11: Boyer brings a § 1983 Monell claim against the City for alleged constitutional
           violations based on theories of a failure to train, supervise, and discipline.

       •   Counts 12-14: Boyer brings state-law trespass-to-chattels, assault-and-battery, and false
           imprisonment claims for damages against Sgt. O’Shaughnessy, Lt. O’Leary, Det.
           Wallace, Lt. Long, Det. Poulos, and Det. Glaviano.

The City Defendants move to dismiss these claims under Fed. R. Civ. P. 12(b)(1) and (b)(6).

III.       LEGAL STANDARD

           A Rule 12(b)(6) motion to dismiss tests the sufficiency of the allegations contained in a

Complaint. Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). Under the Federal Rules of

Civil Procedure, a complaint must contain “a short and plain statement of the claim showing that

the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Where a complaint fails to state a claim

upon which relief may be granted, Fed. R. Civ. P. 12(b)(6) permits dismissal of the complaint.

           When considering such a motion, the Court examines whether the complaint “contain[s]

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face[.]’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). It is insufficient to allege “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements.” Id. Instead, a



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plaintiff must provide fair notice of the nature of the claim and the grounds on which the claim or

entitlement to relief rests. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 & n.3 (2007). The

factual allegations “must be enough to raise a right to relief above the speculative level.” Id. Put

differently, the Court should not credit a plaintiff’s “bald assertions” or “legal conclusions.”

Anspach v. City of Phila., 503 F.3d 256, 260 (3d Cir. 2007).

       The U.S. Court of Appeals for the Third Circuit has distilled the Twombly and Iqbal

standards into a three-part analysis. First, “the court must take note of the elements a plaintiff

must plead to state a claim.” Santiago v. Warminster Twp., 629 F.3d 121,130 (3d Cir. 2010)

(cleaned up). Second, “the court should identify allegations that, because they are no more than

conclusions, are not entitled to the assumption of truth.” Id. Third, “where there are well-pleaded

factual allegations, a court should assume their veracity and then determine whether they

plausibly give rise to an entitlement for relief.” Id. In analyzing a complaint, a court should

accept all well-pled factual allegations as true and construe the complaint in the light most

favorable to the plaintiff. Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009).

IV.    ARGUMENT

       Boyer’s voluminous complaint alleges numerous constitutional and state tort violations

against the City Defendants in Counts 1, 2, and 6-14, all of which fail as a matter of law. First,

the individual City Defendants are immune from the state law tort claims (Counts 10, 12-14)

under the Pennsylvania Political Subdivision Tort Claims Act (“Tort Claims Act”). Second,

many of Boyer’s allegations fall outside the two-year statute of limitations. Third, Boyer’s

challenges to the UFA and 18 Pa. C.S. § 913 (Counts 1, 2, and 7) fail because both statutes are

facially constitutional under recent Second Amendment precedent; the City Defendants properly

exercised their authority to enforce these statutes; and Boyer has not adequately pled Equal

Protection or Due Process violations. Fourth, Boyer fails to state a First Amendment retaliation


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claim (Count 6) because he cannot plausibly allege that his protected activity was the but-for

cause of the claimed retaliation. Fifth, Boyer cannot plead a Fourth Amendment claim (Count 8)

because the alleged seizures were consistent with well-established exceptions to the warrant

requirement. Sixth, Boyer fails to state a claim for malicious prosecution or false imprisonment

(Counts 9, 10, 14) because none of the individual City Defendants is a prosecutor and probable

cause existed for all arrests and prosecutions. Seventh, Boyer fails to plead a municipal policy or

custom as required to hold the City liable under Monell (Count 11). Eighth, Boyer fails to state a

claim for trespass to chattels (Count 12) because all seizures were pursuant to lawful authority.

Ninth, Boyer fails to plead any facts relevant to his claim for assault and battery (Count 13).

Tenth, Boyer’s derivative conspiracy claims fail for lack of any concrete allegations of

conspiracy. Finally, the individual City Defendants have qualified immunity from any

constitutional claims because at all times alleged, there was no precedent holding the UFA

unconstitutional.

       A.      Individual City Defendants are immune from state law claims under the
               Pennsylvania Political Subdivision Tort Claims Act (Counts 10, 12-14).

       The Court should dismiss Counts 10 and 12-14 because the individual City Defendants

have absolute immunity to liability under the Tort Claims Act, 42 Pa. C.S. §§ 8541-64.

       Under the Tort Claims Act, a municipality is absolutely immune from civil tort liability

except for nine enumerated categories of negligence not relevant here. 42 Pa. C.S. §§ 8541,

8542. A municipal employee acting within the scope of her duties generally shares the same

immunity from civil tort liability as her employing municipality, unless “it is judicially

determined that the act of the employee caused the injury and that such act constituted crime,

actual fraud, actual malice, or willful misconduct.” Id. §§ 8545, 8550. In “cases involving police

conduct, a jury verdict that a police officer committed an intentional tort, by itself, is insufficient



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to establish ‘willful misconduct.’” Petit v. Namie, 931 A.2d 790, 801 (Pa. Cmwlth. 2007).

Instead, “the question of tort liability and willful misconduct must be posed and answered

separately.” York v. Kanan, 298 A.3d 533, 546 (Pa. Cmwlth. 2023). As a result, willful

misconduct under the Tort Claims Act functionally “means ‘willful misconduct aforethought’”:

did the municipal employee intend to commit a wrongful act. Petit, 931 A.2d at 801; accord

Kuzel v. Krause, 658 A.2d 856, 860 (Pa. Cmwlth. 1995).

       Here, Boyer alleges that Defendants Sgt. O’Shaughnessy, Lt. O’Leary, Det. Wallace, Lt.

Long, Det. Poulos, and Det. Glaviano are liable for malicious prosecution under Pennsylvania

law (Count 10), trespass to chattels (Count 12), assault and battery (Count 13), and false

imprisonment (Count 14). But all allegations naming these Defendants involve conduct taken

within the scope of their duties. See SAC ¶¶ 61-62, 64-65, 69-70, 77. Moreover, even though all

four counts concern intentional torts, Boyer has not made any plausible allegation that these

Defendants engaged in willful misconduct by intending to commit these torts. See Renk v. City of

Pittsburgh, 641 A.2d 289, 293-94 (Pa. 1994) (holding that assault and battery and false

imprisonment are not per se willful misconduct); York, 298 A.3d at 546 (same, for malicious

prosecution); Madero v. Luffey, 549 F. Supp. 3d 435, 448 (W.D. Pa. 2021) (same, for trespass to

chattels). Instead, Boyer makes only conclusory and vague allegations of animus insufficient to

allege an intent by each named Defendant to act without legal authority. See, e.g., Renk, 641

A.2d at 293-94 (explaining that willful misconduct for false arrest requires proving that the

officer “deliberately arrest[ed] a person knowing that he lacked probable cause to do so”).

Indeed, to the extent Boyer’s SAC presents any relevant allegation, it demonstrates that the

named Defendants had legal authority for each of their interactions with Boyer.

       Because Boyer has not alleged that the Defendants named in Counts 10 and 12-14 took




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action outside the scope of their duties or engaged in willful misconduct, the Court should

dismiss those Counts as barred by the Tort Claims Act.

       B.      Many of Boyer’s allegations are time-barred.

       Many of the allegations presumably implicated by Counts 1, 2, 6-8, and 11-14 are barred

on their face by the relevant statute of limitations.

       A statute of limitations defense may be raised by a Rule 12(b)(6) motion if the

untimeliness is apparent on the face of the complaint. Schmidt v. Skolas, 770 F.3d 241, 249 (3d

Cir. 2014). The “statute of limitations for a § 1983 claim is governed by the personal injury tort

law of the state where the cause of action arose”—which is two years in Pennsylvania. Kach v.

Hose, 589 F.3d 626, 634 (3d Cir. 2009) (citing 42 Pa. C.S. § 5524(2)). This limitations period

applies to claims for damages and claims for declaratory and injunctive relief. See Algrant v.

Evergreen Valley Nurseries Ltd. P’ship, 126 F.3d 178, 184-85 (3d Cir. 1997) (declaratory relief);

In re Mushroom Transp. Co., Inc., 382 F.3d 325, 337 (3d Cir. 2004) (injunctive relief). A § 1983

cause of action accrues “when the plaintiff knew or should have known of the injury upon which

its action is based,” which is “usually at the time the plaintiff suffers an injury.” Kach, 589 F.3d

at 634. The Pennsylvania statute of limitations for assault, battery, false imprisonment, and

trespass to chattels is also two years. 42 Pa. C.S. § 5524(1), (7). In Pennsylvania, a “statute of

limitations begins to run as soon as the right to institute and maintain a suit arises,” which is

generally the date the injury is inflicted. Fine v. Checcio, 870 A.2d 850, 857 (Pa. 2005).

       Because Boyer first filed his complaint on July 27, 2023, any event preceding July 27,

2021, is outside the statute of limitations. These events are: (1) the 2016 revocation of Boyer’s

UFA license, SAC ¶¶ 50-51; (2) the December 6, 2019, arrest of Boyer and seizure of his cell

phone by Det. Wallace and Lt. Long, id. ¶¶ 61-65; (3) the 2019 search of Boyer’s home by Det.

Glaviano and Det. Poulos, id. ¶ 69; and (4) the March 12, 2021, arrest of Boyer by unnamed


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officers, id. ¶¶ 72-73. These events cannot support constitutional claims (Counts 1, 2, 6-8) or

state claims for trespass to chattels, assault and battery, or false imprisonment (Counts 11-14).

The Court should dismiss Boyer’s claims premised on these events as time barred. See Kach, 589

F.3d at 634; 42 Pa. C.S. § 5524(1), (7).

       C.      Counts 1, 2, and 7 (pertaining to the UFA, state law barring guns from
               courthouses, and the Second Amendment) should be dismissed.

       Although Counts 1, 2, and 7 are not clearly drafted, they appear to primarily raise Second

Amendment challenges under § 1983, while potentially incorporating other constitutional issues

mentioned elsewhere in the SAC. Count 1 alleges both facial and as-applied challenges (without

specifying what constitutional provision is at issue) to the UFA licensing requirements, the

grounds for denying or revoking a license, and the (alleged) lack of a procedure to restore one’s

license after a prior revocation. Id. ¶ 161. Count 2 challenges 18 Pa. C.S. § 913, which prohibits

firearms in courthouses. Id. ¶ 164. And Count 7 generally claims that the City, the FOP, and the

individual defendants violated Boyer’s Second Amendment rights. Id. ¶ 180.

       Below, City Defendants first address the Second Amendment challenges (both facial and

as-applied), and then address Boyer’s other potential constitutional allegations. The facial

challenges fail because the Supreme Court’s recent decision in N.Y. State Rifle & Pistol Ass’n v.

Bruen, 597 U.S. 1 (2022) expressly held that licensing and sensitive places laws like those Boyer

challenges here are presumptively constitutional. In addition, his allegation that the UFA

provides no means to restore one’s license once revoked is an incorrect reading of that law. The

as-applied challenges fail because some of the incidents alleged are time-barred, and the

remainder were valid enforcement actions justified by facts pled in the Complaint itself.4


       4
          These are sufficient reasons to dismiss his claims without undertaking the extensive
historical analysis called for under Bruen, which would likely require expert analysis regarding



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                1.      Boyer’s facial challenges in Counts 1 and 2 fail because shall-issue
                        licensing and sensitive places laws, such as Pennsylvania’s, are facially
                        constitutional.

        The City Defendants join and expand upon the DAO’s argument that Pennsylvania’s

licensing requirements and sensitive spaces law are presumptively lawful post-Bruen. See ECF

No. 21 at 9-13. “A party asserting a facial challenge must establish that no set of circumstances

exists under which the Act would be valid.” United States v. Mitchell, 652 F.3d 387, 405 (3d Cir.

2011) (internal quotation marks omitted). Here, the Supreme Court has expressly upheld shall-

issue licensing requirements such as Pennsylvania’s, as well as laws barring guns in courthouses.

Thus, Boyer’s facial attack on the UFA and 18 Pa. C.S. § 913 fail as a matter of law.

        First, regarding Count I’s challenge to the UFA, the Bruen Court carefully noted that its

decision was not intended to cast doubt on the constitutionality of shall-issue licensing regimes

such as Pennsylvania’s, which are “designed to ensure only that those bearing arms in the

jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” See 597 U.S. at 38 n.9 (“To be clear,

nothing in our analysis should be interpreted to suggest the unconstitutionality of the 43 States’

‘shall-issue’ licensing regimes[.]”); see also id. at 72 (Alito, J., concurring); id. at 79

(Kavanaugh, J., concurring).

        Recently, the U.S. Court of Appeals for the Second Circuit rejected a facial challenge to

New York’s firearms licensing regime, finding that Bruen’s clear support for shall-issue

licensing laws such as New York’s (and Pennsylvania’s) obviated the need for a full historical

analysis. Antonyuk v. Chiumento, -- F.4th --, 2023 WL 8518003, at *22 (2d Cir. Dec. 8, 2023).

At issue was New York’s requirement that licensees possess “good moral character,” which state

law defined as “having the essential character, temperament and judgement necessary to be


historical laws and context. Nonetheless, in the event that these claims are allowed to proceed,
the City is prepared to present a full defense.


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entrusted with a weapon and to use it only in a manner that does not endanger oneself or others.”

Id. at *21 (quoting N.Y. Penal Law § 400.00 (McKinney)). Examining Bruen’s discussion of

shall-issue licensing regimes, the court noted there was “widespread agreement . . . that

restrictions forbidding dangerous individuals from carrying guns comport with ‘this Nation’s

historical tradition of firearm regulation[.]’” Id. at *23 (quoting Bruen, 597 U.S. at 17). Finding

that New York’s “character” requirement was a proxy for dangerousness, the Second Circuit

concluded that it was constitutional on its face because “at least some possible applications of the

character requirement would not violate the Constitution[.]” Id. at 24.

       Like New York’s “good moral character” requirement, the UFA’s “character and

reputation” requirement is plainly intended to prevent dangerous individuals from obtaining a

firearms license. See 18 Pa. C.S. § 6109 (requiring investigation whether “the applicant’s

character and reputation are such that the applicant will not be likely to act in a manner

dangerous to public safety”). Although Boyer takes issue with certain aspects of Pennsylvania’s

licensing law—such as the requirement of a license to carry in Philadelphia or a vehicle, the fact

that the UFA does not exclude holders of an Act 235 certificate from its licensing requirement,

SAC ¶ 161(a), (b), (c), (g)—the discussion in Bruen makes clear that licensure requirements are

not per se unlawful, and that shall-issue states are free to set reasonable conditions on the

issuance of firearms licenses to ensure that dangerous individuals are not allowed to carry. 597

U.S. at 389 n.9; see also id. at 80 (Kavanaugh, J., concurring) (noting that “constitutionally

permissible” shall-issue regimes “may require a license applicant to undergo fingerprinting, a

background check, a mental health records check, and training in firearms handling and in laws

regarding the use of force, among other possible requirements”). None of the aspects that Boyer

challenges represent the kind of unusual burden on Second Amendment rights that would




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differentiate Pennsylvania’s licensure rules from other presumptively lawful shall-issue states.

       In particular, though Boyer argues that the criteria for revoking a license should be

limited to conduct resulting in a criminal conviction (and not “merely” conduct indicating that an

individual poses a public safety risk), SAC ¶ 161(d)-(f), Pennsylvania’s standard is by no means

an outlier. Many of the shall-issue jurisdictions listed in Bruen footnote 1 allow a licensing

authority to deny a gun permit if an applicant’s past conduct demonstrates they are likely to pose

a danger to themselves or others.5 For example, the Supreme Court approved of Connecticut’s

“suitable person” requirement, Conn. Gen. Stat. § 29–28(b), which has been interpreted by state

courts as allowing denial of a license only to “individuals whose conduct has shown them to be

lacking the essential character of temperament necessary to be entrusted with a weapon.” Dwyer

v. Farrell, 475 A.2d 257, 260 (Conn. 1984) (quoted in Bruen, 597 U.S. at 13 n.1). This standard

is closely analogous to the UFA’s prohibition on issuing a license to “[a]n individual whose

character and reputation is such that the individual would be likely to act in a manner dangerous

to public safety,” 18 Pa. C.S. § 6109(e)(1)(i) & (i). Pennsylvania’s run-of-the-mill, “shall-issue”




       5
          See, e.g., Ala. Code § 13A-11-75(c)(11) (allowing denial if applicant “[c]aused or
causes justifiable concern for public safety”); Colo. Rev. Stat. Ann. § 18-12-203(2) (sheriff may
deny application if “documented previous behavior by the applicant makes it likely the applicant
will present a danger to self or others”); 430 Ill. Comp. Stat. Ann. 66/10 (West) (allowing
issuance of license only to applicant who “does not pose a danger to himself, herself, or others,
or a threat to public safety”); Minn. Stat. Ann. § 624.714 (West) (allowing denial where “there
exists a substantial likelihood that the applicant is a danger to self or the public”); Mont. Code
Ann. § 45-8-321(2) (allowing denial where “the sheriff has reasonable cause to believe that the
applicant… may be a threat to the peace and good order of the community[.]”); N.D. Cent. Code
Ann. § 62.1-04-03 (West) (allowing denial if authority “has reasonable cause to believe that the
applicant or license holder has been or is a danger to self or others as demonstrated by
evidence[.]”); Wyo. Stat. Ann. § 6-8-104 (allowing denial if “applicant has been or is reasonably
likely to be a danger to himself or others, or to the community at large… as demonstrated by a
past pattern or practice of behavior[.]”).


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licensing regime is presumptively lawful under Bruen.6

       Lastly, although Boyer alleges in Count 1 that the UFA provides no means to restore

one’s license after a revocation, he misstates the law. SAC ¶ 161(h). Nothing in the UFA

prevents an individual from reapplying for a license after having one revoked. Indeed, Boyer’s

own Complaint reflects that he was able to reapply and the City processed his application in the

normal course. See SAC ¶¶ 91-93 & Ex. E. Further, nothing in the UFA precludes a licensing

authority from issuing a license to someone with a prior revocation, provided that the revocation

was not for one of the permanently disqualifying offenses listed in 18 Pa. C.S. § 6105. See id.

§ 6109 (listing grounds for denial). Boyer does not plead facts showing a policy of denials based

solely on previous revocations. Indeed, his own license denial was not based solely on the prior

revocation; rather, the notice cited his 2019 and 2021 “VUFA Arrest[s]” and his 2021 arrest for

assault, in addition to the fact that the earlier revocation had been affirmed on appeal. See SAC

Ex. E. Accordingly, Boyer fails to state a claim based on this allegation.

       Second, though Count 2 pleads a facial challenge to the state law making it illegal to

carry a firearm into a courthouse, 18 Pa. C.S. § 913, Boyer lacks standing to challenge that law,

and further, Bruen endorsed sensitive-places laws like § 913. As a threshold matter, Boyer lacks

standing, as he does not allege that he intends to violate that law again. A plaintiff raising a pre-

enforcement challenge must allege that “he intends to do something arguably protected by the

Constitution, but arguably barred by the regulation, and that he faces a credible threat of

prosecution under the regulation.” Greenberg v. Lehocky, 81 F.4th 376, 385 (3d Cir. 2023).

Although Boyer had his UFA license revoked for violating § 913 in 2016 (well beyond the



       6
        The Supreme Court is expected to give further guidance on the standards for disarming
dangerous individuals in United States v. Rahimi, No. 22-915 (U.S.), which was argued on
November 7, 2023.


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statute of limitations), he does not allege that he intends to do so in the future. On the contrary,

the SAC alleges that he “intend[s] to surrender possession of his firearm to government authority

while entering a courthouse or government building[.]” ¶ 149.

       But further, the Bruen Court also expressly reaffirmed Heller’s discussion of

“longstanding” laws barring firearms from sensitive places “such as schools and government

buildings,” which laws Heller described as “presumptively lawful.” Bruen, 597 U.S. at 30

(quoting District of Columbia v. Heller, 554 U.S. 570, 626 (2008)); see also Heller, 554 U.S. at

626-27 & n.26. Indeed, while the Bruen Court noted that “the historical record yields relatively

few 18th- and 19th-century ‘sensitive places’ where weapons were altogether prohibited,” it

expressly identified courthouses as one of those historically recognized places. 597 U.S. at 30.

The Court then concluded: “We therefore can assume it settled that these locations were

‘sensitive places’ where arms carrying could be prohibited consistent with the Second

Amendment.” Id. This crystal-clear holding is binding and dispositive of Boyer’s facial

challenge to § 913 in Count 2.

               2.      Boyer’s as-applied Second Amendment challenges must fail because
                       the City Defendants acted properly to enforce valid laws.

       Because the City Defendants were merely enforcing presumptively lawful statutes, and

because (as shown below) they did so in a lawful manner, Boyer’s as-applied challenges are

similarly doomed. Although Counts 1, 2, and 7 do not specify the conduct at issue (and Counts 1

and 2 do not cite the applicable constitutional right(s)), presumably these claims involve City

Defendants’ roles in enforcing the UFA and § 913 against Boyer. See SAC ¶ 152.

       Boyer alleges four firearms-related incidents: (1) the City’s decision in 2016 to revoke

Boyer’s UFA license, id. ¶ 50; (2) Sgt. O’Shaughnessy, Lt. Long, and Det. Wallace’s roles in

Boyer’s 2019 arrest for carrying a firearm without a license, id. ¶¶ 61-65; (3) Lt. O’Leary’s



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October 2021 arrest of Boyer and seizure of his firearm at the CJC, id. ¶ 77; and (4) Lt.

Newsome’s denial of Boyer’s 2023 firearms permit application, id. ¶¶ 91-93. Only the latter two

are not time barred, see supra Part III.B; these two remaining allegations involve legitimate

enforcement efforts.

       First, in a § 1983 suit, “a plaintiff must plead that each Government-official defendant,

through the official’s own individual actions, has violated the Constitution.” Iqbal, 556 U.S. at

676; see also Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988) (“A defendant in a civil

rights action must have personal involvement in the alleged wrongs.”). Sgt. O’Shaughnessy, Lt.

Long, Det. Wallace, Det. Glaviano, and Det. Poulos are implicated only in events outside the

limitations period, and the latter two are not alleged to have affected Boyer’s ability to keep and

bear arms. The Court should dismiss Count 7 as to all five of these defendants.

       Second, Lt. O’Leary’s arrest of Boyer and seizure of his firearm at the CJC in October

2021 were valid enforcement actions based on a valid statute, the UFA. It is undisputed that

Boyer was carrying a firearm that day despite having lost his license to carry in 2016, and he

failed to produce a firearms license when Lt. O’Leary asked. SAC ¶¶ 50, 77. Under the UFA,

both open and concealed carry in Philadelphia without a license are prohibited, and failure to

produce a license when asked creates a rebuttable presumption of nonlicensure. 18 Pa. C.S.

§§ 6106, 6108, 6122. Under the facts as alleged, Lt. O’Leary had probable cause to arrest Boyer

for a UFA violation. See Com. v. Bigelow, 399 A.2d 392, 396 (Pa. 1979); United States v. Bond,

173 Fed. App’x 144, 146 (3d Cir. 2006). Lt. O’Leary also had authority to seize Boyer’s firearm

under either the plain view exception or the search incident to lawful arrest exception to the

Fourth Amendment. See United States v. Menon, 24 F.3d 550, 559 (3d Cir. 1994) (citing Horton

v. California, 496 U.S. 128, 136-37 (1990) (plain view)); United States v. Shakir, 616 F.3d 315,




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317 (3d Cir. 2010) (search incident to lawful arrest); see also infra Part III.E.

       Finally, Lt. Newsome’s denial of Boyer’s 2023 firearms license application did not

violate Boyer’s Second Amendment rights. Pennsylvania’s shall-issue statute, 18 Pa. C.S.

§ 6109, prohibits the City from issuing a license to anyone who “would be likely to act in a

manner dangerous to public safety.” The notice of denial cites Boyer’s pattern of erratic and

unlawful behavior—namely, his repeated and willful violations of the UFA by carrying without a

license; the fact that his prior revocation for unlawfully carrying a firearm inside a courthouse

was affirmed on appeal; and his 2021 arrest for assault. These incidents illustrate Boyer’s clear

disdain for Pennsylvania’s firearms safety laws, as well as his lack of good judgment regarding

proper use of force and where and how he carries a deadly weapon. In light of the “widespread

agreement” that the Second Amendment is no bar to disarming individuals who pose a threat to

public safety, Antonyuk, 2023 WL 8518003 at *24, the City’s denial of Boyer’s 2023 license

application was not unconstitutional.

               3.      Boyer’s Due Process and Equal Protection allegations are legally
                       insufficient.

       In addition to the Second Amendment, Counts I and II could be liberally construed to

incorporate earlier allegations citing Due Process (SAC ¶¶ 141-42, 153) and Equal Protection

(id. ¶¶ 136-38, 153), as these allegations relate to enforcement of the UFA and § 913. However,

Boyer has not pled a plausible Due Process or Equal Protection claim.

       For his Due Process allegations, although Boyer vaguely pleads that his 2016 license

revocation violated Due Process, the two-year statute of limitations has long since run on that

claim. See supra Part III.B. But further, for both the 2016 revocation and the 2023 denial of his

new application, Boyer received all the process he was due. “Procedural due process requires

notice and an opportunity to be heard. A due process violation is “not complete unless and until



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the State fails to provide due process.” Alvin v. Suzuki, 227 F.3d 107, 116 (3d Cir. 2000). The

SAC alleges that Boyer was given notice of his license revocation and the opportunity to be

heard before the Board of License and Inspection Review. SAC ¶¶ 51-58. Likewise, for his 2023

application, the notice attached to the SAC states the specific reasons for denial and informs him

of his right to appeal. See Id. Ex. E. Boyer’s own admissions are fatal to any Due Process claim.

       Boyer also claims it is a Due Process violation for “constitutional rights” to be

adjudicated by an administrative body, Id. ¶¶ 141-42, but he cites only a concurring opinion in

Axon Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 196 (2023) (Thomas, J., concurring),

which is a non-controlling, minority viewpoint. The question in Axon was not whether

administrative bodies could adjudicate core constitutional rights, but whether federal courts have

jurisdiction to hear collateral constitutional challenges to administrative agency enforcement

schemes. Id. at 180-85. The unanimous Court held that federal courts could hear these

challenges. But the Court also cited the law of the land holding that Congress may give agencies

exclusive jurisdiction to adjudicate certain matters, including those that involve monetary fines,

which would touch on the constitutional right to property just as the permitting decision here

touched on Boyer’s right to bear arms. Axon, 598 U.S. at 185-87 (discussing Thunder Basin Coal

Co. v. Reich, 510 U.S. 200, 205, 212-13 (1994)).

       For Equal Protection, despite summarily blaming all of his difficulties with law

enforcement on a grand conspiracy against him, Boyer fails to plead the required elements of a

selective enforcement claim. To state a claim for selective enforcement, a plaintiff must allege:

(1) that he was treated differently than similarly situated individuals, and (2) “that this selective

treatment was based on an unjustifiable standard, such as race, or religion, or some other

arbitrary factor, . . . or to prevent the exercise of a fundamental right.” PG Pub. Co. v. Aichele,




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705 F.3d 91, 115 (3d Cir. 2013) (alteration in original). The plaintiff must allege intentional

discrimination, not merely unequal treatment. Id.

       Here, Boyer does not plausibly allege that similarly situated individuals were treated

differently than him. To be similarly situated, the comparators must be alike “in all relevant

respects” but need not be identical. Harvard v. Cesnalis, 973 F.3d 190, 205 (3d Cir. 2020).

Boyer’s allegations do not satisfy this fundamental requirement. For instance, although he

alleges he was arrested in October 2021 when Lt. O’Leary observed him carrying a firearm

without a license inside the CJC, SAC ¶¶ 74-77, he does not point to any similarly-situated

individuals who engaged in equivalent conduct and were not arrested.7 Without any comparators,

Boyer cannot plausibly allege unequal treatment.

       The closest Boyer comes to alleging disparate treatment is to allege that holders of an Act

235 certificate are similarly situated to others who are exempted from licensure under the UFA,

SAC ¶ 153. This comparison is inapt. The UFA includes certain narrow exceptions, such as for

law enforcement or armed forces members, individuals engaged “in the business of

manufacturing, repairing, or dealing in firearms,” and individuals employed as private security

agents—which apply only while the individual is engaged in their relevant duties. See 18 Pa.

C.S. § 6106(b)(1), (2), (6), (7). By contrast, an Act 235 certificate certifies that an individual

employed as a private agent has undergone the requisite firearms training. See 22 P.S. §§ 42(b),

44. Act 235 and a UFA license are “separate and complimentary requirements” that serve



       7
          Similarly, although his claim for “discriminatory enforcement” of 18 Pa. C.S. § 913
(prohibiting firearms in courthouses) based on his 2016 arrest is time-barred, he also fails to
identify any similarly situated comparators who were not arrested for similar conduct. SAC
¶ 164. And his complaint about a lack of gun lockers for individuals carrying a firearm without a
license (id. ¶ 164) is both (a) factually inapposite (he alleges he was able to use the locker, see id.
¶ 76), and (b) essentially a dispute with the UFA’s requirement of a license to carry rather than
with Section 913. The as-applied claim under Count 2 should be dismissed.


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different purposes: the UFA to protect public safety, and Act 235 to ensure that private agents

are trained in weapons handling to avoid accidents. Commonwealth v. Anderson, 169 A.3d 1092,

1102 (Pa. Super. 2017); see DAO Brief, at 5 & n.3, 11 (ECF 21). An Act 235 certificate says

nothing about a person’s character and judgment to carry a firearm without creating a public

safety risk. Accordingly, Boyer has not adequately pled an Equal Protection claim.

       D.      Boyer has failed to state a claim for First Amendment retaliation (Count 6).

       In Count 6, Boyer claims First Amendment retaliation by the City, Sgt. O’Shaughnessy,

Lt. O’Leary, Det. Wallace, Lt. Long, Det. Poulos, Det. Glaviano, and Lt. Newsome. SAC ¶ 177.

Boyer claims that the named Defendants retaliated against him due to his Serpico News website,

where he claims to expose police corruption. Id. ¶¶ 44, 47. The only retaliatory action Boyer

alleges is a vague reference to “pretextual arrests” Id. ¶ 71. But this allegation fails because, on

the face of the complaint, there was probable cause for all arrests within the limitations period.

       “In order to establish a First Amendment retaliation claim, a plaintiff must prove (1) that

he engaged in constitutionally protected activity; (2) that the government responded with

retaliation; and (3) that the protected activity caused the retaliation.” George v. Rehiel, 738 F.3d

562, 585 (3d Cir. 2013) (internal quotation marks omitted). To prove causation, “a plaintiff must

establish a causal connection between the government defendant’s retaliatory animus and the

plaintiff’s subsequent injury.” Nieves v. Bartlett, 139 S. Ct. 1715, 1722 (2019) (internal quotation

marks omitted). It is “not enough to show that an official acted with a retaliatory motive and that

the plaintiff was injured—the motive must cause the injury.” Id. In addition, the motive “must be

a ‘but-for’ cause, meaning that the adverse action against the plaintiff would not have been taken

absent the retaliatory motive.” Id. If a plaintiff alleges a retaliatory arrest, he “must plead and

prove the absence of probable cause for the arrest.” Id. at 1724.

       Boyer’s SAC alleges four arrests: (1) on December 6, 2019, by Lt. Long and Det.


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Wallace, after Sgt. O’Shaughnessy saw Boyer carrying a firearm after his license was revoked,

SAC ¶¶ 61-64, 68; (2) on March 12, 2021, by unnamed officers, id. ¶ 73; (3) on October 19,

2021, by Lt. O’Leary after Boyer admitted he did not have a license while carrying a firearm in

Philadelphia, id. ¶ 77; and (4) in April 2022, by unnamed officers in response to the refiling of

the criminal complaint against Boyer based on the December 2019 incident, id. ¶¶ 78-80. Only

the latter two are within the statute of limitations. See supra Part III.B. Neither is sufficient to

make out a claim for retaliatory arrest.

        First, Boyer has not alleged that Det. Glaviano, Det. Poulos, or Lt. Newsome had any

involvement in these four arrests. In addition, Sgt. O’Shaughnessy, Lt. Long, and Det. Wallace

are implicated only by the time-barred December 2019 arrest. The Court should dismiss Count 6

as to these defendants. See Iqbal, 556 U.S. at 676; Rode, 845 F.2d at 1207; Cortlessa v. Cnty of

Chester, No. 04-1039, 2006 WL 1490145, at *7 (E.D. Pa. May 24, 2006). Boyer has also not

alleged any custom or policy of retaliatory arrests and so cannot state a claim against the City

either. See Bd. of Cnty. Comm’rs of Bryan Cnty., Okla. v. Brown, 520 U.S. 397, 403 (1997).

        Second, Boyer has not alleged that any of the named Defendants was responsible for the

April 2022 arrest, Iqbal, 556 U.S. at 676, or that any of the unnamed officers arrested him

because of contemporaneous protected activity on behalf of Serpico News, see Talbert v. Dep’t

of Corr., No. 23-2255, 2023 WL 4873643, at *10 (E.D. Pa. July 31, 2023) (dismissing First

Amendment retaliation claim against unnamed persons for failure to show how any “protected

activity substantially motivated” retaliation). Nor has Boyer alleged that the unnamed officers

lacked probable cause; to the contrary, he pleads that he was arrested pursuant to the refiling of a

criminal complaint against him for carrying a firearm in Philadelphia without a license. SAC

¶¶ 78-80; see 18 Pa. C.S. § 6108. Accordingly, any First Amendment activity was not a but-for




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cause of his arrest. Nieves, 139 S. Ct. at 1724.

       Finally, Boyer has failed to allege that protected First Amendment activity was the but-

for cause of the October 2021 arrest. Boyer does not allege that he was doing anything related to

Serpico News when he visited the CJC; instead, he was appearing to testify in a case. Cf. SAC

¶¶ 74-77. Boyer cannot make out a claim based on retaliation for protected activity if he has not

alleged that he was engaging in any protected activity. See George, 738 F.3d at 585 (“The

threshold requirement is that the plaintiff identify the protected activity that allegedly spurred the

retaliation.” (internal quotation marks omitted)). Nor does Boyer allege any causal connection

between any protected constitutional activity and his arrest by Lt. O’Leary. See Nieves, 139 S.

Ct. at 1722. Indeed, the SAC does not even allege that Lt. O’Leary, who works for the Sheriff’s

Office, had any knowledge of Serpico News or Boyer’s involvement with it. Nor has Boyer

alleged that Lt. O’Leary lacked probable cause. See id. at 1724. To the contrary, Boyer concedes

that he was carrying a firearm without a license and did not provide a license to Lt. O’Leary

when asked. SAC ¶¶ 50, 77. The UFA requires a license to carry openly or concealed in

Philadelphia, and failure to produce a license when asked creates a rebuttable presumption of

nonlicensure. 18 Pa. C.S. §§ 6106, 6108, 6122. Therefore, Boyer has alleged that Lt. O’Leary

had probable cause to arrest him, defeating any claim for retaliatory arrest. Bond, 173 Fed.

App’x at 146; Bigelow, 399 A.2d at 396.

       In sum, Boyer has failed to plead that any of the named Defendants arrested him to

retaliate against any protected First Amendment activity. Count 6 should be dismissed.

       E.      Boyer has failed to state a claim under the Fourth Amendment (Count 8).

       In Count 8, Boyer alleges a Fourth Amendment violation by the City, Sgt.

O’Shaughnessy, Lt. O’Leary, Det. Wallace, Lt. Long, Det. Poulos, and Det. Glaviano, as well as

Lt. Newsome for punitive damages only. SAC ¶ 183 & Wherefore Clause. Boyer claims the


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named Defendants “unlawfully seized and continued to seize Boyer’s firearm.” Id. ¶ 183. The

Court should dismiss Count 8 because the named Defendants conducted seizures consistent with

the Fourth Amendment’s exceptions to the warrant requirement.

       The Fourth Amendment prohibits “unreasonable searches and seizures.” U.S. Const. art.

IV. A seizure “deprives the individual of dominion over his or her person or property.” Horton,

496 U.S. at 133. Although the general rule is that warrantless seizures are unreasonable, a

warrantless seizure of evidence in plain view is constitutional if (1) the officer has not “violated

the Fourth Amendment in ‘arriving at the place from which the evidence could be plainly

viewed’”; (2) “the incriminating character of the evidence” is “immediately apparent”; and (3)

the officer has “a lawful right of access to the object itself.” Menon, 24 F.3d at 559 (quoting

Horton, 496 U.S. at 136-37). In addition, a warrantless seizure of evidence discovered during a

search incident to lawful arrest is constitutional if the evidence is discovered on the arrested

person or from the area within his immediate control. Shakir, 616 F.3d at 317.

       Boyer alleges two seizures of his firearm: (1) on October 19, 2021, after Lt. O’Leary

arrested Boyer for carrying without a license, SAC ¶ 77; and (2) in April 2022, after unnamed

officers arrested Boyer in response to the refiling of an earlier criminal complaint against him for

carrying without a license, id. ¶¶ 78-80. Neither seizure violated the Fourth Amendment.

       First, Boyer has not alleged that Sgt. O’Shaughnessy, Det. Wallace, Lt. Long, Det.

Poulos, Det. Glaviano, or Lt. Newsome seized any firearm from Boyer. The Court should

dismiss Count 8 as to these defendants. See Rode, 845 F.2d at 1207; Cortlessa, 2006 WL

1490145, at *7. Boyer has also not alleged any custom or policy of unconstitutional seizures and

so also cannot state a claim against the City. See Brown, 520 U.S. at 403.

       Second, the October 2021 seizure of Boyer’s firearm was subject to the plain view




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exception. Boyer does not allege that Lt. O’Leary was not authorized to be in the CJC or that he

did not have lawful view of Boyer’s firearm. See Menon, 24 F.3d at 559. To the contrary, Boyer

pleads that he went to the CJC with “a holstered firearm,” checked that firearm “in the facility’s

gun locker,” and later “retrieved his firearm.” SAC ¶¶ 75-77. Boyer further concedes that he did

not provide a license to Lt. O’Leary when asked. Id. ¶¶ 50, 77. Carrying without a license is a

criminal offense, and failure to produce a license when asked creates a rebuttable presumption of

nonlicensure. 18 Pa. C.S. §§ 6106, 6108, 6122. In this circumstance, the incriminating nature of

the firearm is obvious. See Menon, 24 F.3d at 559, Horton, 496 U.S. at 136-37. As a result,

Boyer has failed to allege that Lt. O’Leary’s seizure of Boyer’s firearm was unconstitutional.

       Finally, Boyer provides no details about how unnamed officers seized his firearm in

April 2022, but it is reasonable to infer that the seizure occurred incident to the arrest mentioned

in the same paragraph. See SAC ¶ 80. Boyer does not allege that this arrest was unlawful; to the

contrary, he pleads that he was arrested due to the refiling of the criminal complaint. Id. ¶¶ 78-

80; see 18 Pa. C.S. § 6108. Pursuant to this lawful arrest, the unnamed officers were entitled to

conduct a warrantless search of Boyer’s person for weapons and evidence—of which the firearm

constitutes both. See Shakir, 616 F.3d at 317; Chimel v. California, 395 U.S. 752, 763 (1969).

       In sum, Boyer has failed to allege that any of the named Defendants unconstitutionally

seized his firearms. The Court should dismiss Count 8 against all named Defendants.

       F.      Boyer has failed to state a claim for malicious prosecution or false
               imprisonment (Counts 9, 10, and 14).

       In Counts 9, 10, and 14, Boyer brings malicious prosecution and false imprisonment

claims against the City of Philadelphia (Count 9 only), Sgt. O’Shaughnessy, Lt. O’Leary, Det.

Wallace, Lt. Long, Det. Glaviano, and Det. Poulos. To bring either a federal or state malicious

prosecution claim, however, a plaintiff must allege that each defendant initiated a criminal



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proceeding without probable cause. See, e.g., Allen v. N.J. State Police, 974 F.3d 497, 504 (3d

Cir. 2020) (federal); Hugee v. Pa. R. Co., 101 A.2d 740, 742 (Pa. 1954) (state). Similarly, a state

law claim for false imprisonment fails unless a plaintiff can likewise establish that the arresting

officers acted without probable cause. See Renk, 641 A.2d at 293. Because Boyer has failed to

allege that the defendant law enforcement officers (as opposed to a prosecutor) “initiated” a

criminal proceeding against him, and because it is evident that probable cause supported Boyer’s

arrests for carrying in Philadelphia without a license, Boyer’s claims must fail as a matter of law.

       Boyer alleges four arrests: (1) on December 6, 2019, by Lt. Long and Det. Wallace,

pursuant to an arrest warrant based on Sgt. O’Shaughnessy seeing Boyer carry a firearm at the

35th Police District Headquarters, SAC ¶¶ 61-64, 68; (2) on March 12, 2021, by unnamed

officers, id. ¶ 73; (3) on October 19, 2021, by Lt. O’Leary after Boyer admitted he did not have a

UFA license while carrying a firearm in Philadelphia, id. ¶ 77; and (4) in April 2022, by

unnamed officers in response to the refiling of the criminal complaint against Boyer based on the

December 2019 incident, id. ¶¶ 78-80. Only the latter two are within the statute of limitations.

See supra Part III.B. Boyer alleges one criminal prosecution, a single count of 18 Pa. C.S. § 6108

based on the December 2019 arrest for carrying a firearm without a license. SAC ¶¶ 70, 78-81.

       First, Boyer has not alleged that Det. Glaviano or Det. Poulos had any involvement in

any arrests. In addition, Sgt. O’Shaughnessy, Lt. Long, and Det. Wallace were involved in only

the December 2019 arrest, which is time-barred. The Court should dismiss Count 14 as to these

defendants. See Iqbal, 556 U.S. at 676; Rode, 845 F.2d at 1207; Cortlessa, 2006 WL 1490145, at

*7. Boyer has also not alleged any municipal custom or policy of malicious prosecutions or false

imprisonments and so cannot state a claim against the City, either. See Brown, 520 U.S. at 403.

       Second, Boyer has not adequately pled a malicious prosecution claim against the named




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Defendants because it is the prosecutor, not police, who alone decides whether to initiate a

criminal prosecution. Although the decision to bring criminal charges rests solely within the

prosecutor’s discretion, other individuals may be liable if they “influenced or participated in the

decision to institute criminal proceedings.” Halsey v. Pfeiffer, 750 F.3d 273, 297 (3d Cir. 2014).

One way that officers might influence that decision is by supplying false or misleading

information such that the officer “interfered with the prosecutor’s informed discretion.”

Brockington v. City of Phila., 354 F. Supp. 2d 563, 569 (E.D. Pa. 2005) (citation and quotation

marks omitted); Gallo v. City of Phila., 161 F.3d 217, 220 fn.2 (3d Cir. 1998). Though Boyer

alleges that Sgt. O’Shaughnessy obtained an arrest warrant, and Lt. Long and Det. Wallace

carried out that warrant, the SAC is devoid of any allegation that these defendants supplied false

information to the DAO that caused the prosecutor to bring criminal charges. SAC ¶¶ 59-81. The

Court should dismiss Counts 9 and 10 as against the City Defendants.8

       Third, the malicious prosecution claim arising out of the December 2019 arrest fails

because, on the face of the complaint, probable cause existed for a 18 Pa. C.S. § 6108 violation.

Boyer’s conclusory assertion that criminal “proceedings were initiated without probable cause”

after his arrest, see, e.g., SAC ¶ 186, does not change that. As Boyer concedes, his license to

carry firearms had been revoked years prior, see id. ¶ 50, and Sgt. O’Shaughnessy obtained an

arrest warrant because he “saw a gun” on Boyer’s person, id. ¶ 68. Under the UFA, carrying a

firearm in Philadelphia without a license is illegal. 18 Pa. C.S. §§ 6106, 6108. That Sgt.

O’Shaughnessy did not “inquir[e] whether the item seen was in fact a firearm, whether it was

operable as a weapon, or whether Boyer had a license or authorization to carry it,” SAC ¶ 62,



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         Boyer alleges that Det. Wallace “made a charging decision and commenced a criminal
action against Boyer,” SAC ¶ 70, but this is implausible on its face, as Det. Wallace is not a
prosecutor and cannot initiate criminal proceedings.


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does not change the probable cause analysis. The Pennsylvania Supreme Court has held that the

possession of a license is not an element of a § 6108 violation, but rather an affirmative defense

that may later be raised by the defendant and which does not vitiate probable cause. See, e.g.,

Bond, 173 Fed. App’x at 146 (“The Pennsylvania courts have interpreted this statute as not

requiring the prosecution to prove that the defendant did not have a license for the firearm.”)

(citing Bigelow, 399 A.2d at 396); see also, e.g., Tarr v. City of Pittsburgh, 800 Fed. App’x 131,

135 (3d Cir. 2020). To the extent Boyer alleges that the statute is unconstitutional, the

unconstitutionality of a criminal statute is also an affirmative defense that does not negate

probable cause to arrest. See, e.g., Davis v. City of Apopka, 78 F.4th 1326, 1340 (11th Cir. 2023).

        Fourth, Boyer cannot bring a false imprisonment claim based on the October 2021 arrest.

See SAC ¶¶ 74-77. As already argued repeatedly above, Boyer concedes that he was carrying a

firearm in Philadelphia without a license and did not provide a UFA license to Lt. O’Leary when

asked, id. ¶¶ 50, 77, which constitutes probable cause of a UFA violation, 18 Pa. C.S. §§ 6106,

6108, 6122; Bond, 173 Fed. App’x at 146; Bigelow, 399 A.2d at 396. Any malicious prosecution

claim based on this incident would similarly fail because probable cause supported the arrest and

because Boyer fails to allege that criminal proceedings were in fact initiated.

        Finally, to the extent that Boyer intends to bring a malicious prosecution claim for the

March 12, 2021, arrest, Boyer’s allegations are too scant to survive dismissal. See SAC ¶¶ 72-73.

Boyer has not alleged that any named Defendants participated in the arrest, which is fatal. See

Iqbal, 556 U.S. at 676; Rode, 845 F.2d at 1207; Cortlessa, 2006 WL 1490145, at *7. Boyer also

fails to allege sufficient facts to understand the contours of the incident, let alone facts raising a

plausible inference that he was charged maliciously and without probable cause.

        In sum, Boyer has failed to plead that the City Defendants are liable for malicious




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prosecution or false imprisonment, and the Court should dismiss Counts 9, 10, and 12.

       G.      Boyer has failed to state a claim for Monell liability (Count 11).

       In Count 11, Boyer alleges in a conclusory fashion that the City of Philadelphia “ha[s]

failed to train, discipline, or supervise their respective officers, employees or agents under

circumstances evidencing a reckless indifference to the rights of others.” SAC ¶ 193. It is well

established, however, that “[f]or municipal liability to attach, the plaintiff must prove both” (1)

an underlying violation of his or her constitutional rights and (2) “that municipal liability is

warranted under a Monell analysis.” J.H. v. City of Phila., No. 06-2220, 2008 WL 3983269, at

*8 (E.D. Pa. Aug. 19, 2008) (emphasis added). To satisfy the second prong, the plaintiff must

prove that his rights “were ‘violated as a result of a municipal policy or custom of deliberate

indifference’ to the rights of its citizens.” Beswick v. City of Phila., 185 F. Supp. 2d 418, 427

(E.D. Pa. 2001) (quoting Simmons v. City of Phila., 947 F.2d 1042, 1064 (3d Cir. 1991)). To

establish deliberate indifference, a plaintiff must demonstrate considerably more proof than a

single incident. See Okla. City v. Tuttle, 471 U.S. 808, 823-24 (1985).

       First, Boyer has failed to set forth even a single other instance in which an individual was

subjected to the same constitutional harms as him, let alone under similar circumstances. See,

e.g., Johnson v. City of Phila., 975 F.3d 394, 403 (3d Cir. 2020) (affirming dismissal of a Monell

claim where the “[a]ppellant d[id] not allege a history of similar problems at the fire department”

to those that the appellant faced); Boyd v. City of Phila., No. 17-3195, 2020 WL 1531454, at *16

(E.D. Pa. Mar. 31, 2020) (dismissing Monell claim where the plaintiff’s allegations were

“unsupported by any specific examples of similar conduct that would suggest such a pattern or

practice”). Boyer does not identify any other individual who was (allegedly) subjected to false

arrest or malicious prosecution under similar circumstances to him. He does not identify similar

alleged violations of other individuals’ First or Fourth Amendment rights. Absent any allegations


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indicating a pattern of deliberate indifference, dismissal of Boyer’s municipal-liability claim is

warranted. Groman v. Twp. of Manalapan, 47 F.3d 628, 637 (3d Cir. 1995).

       Second, although Boyer also recites boilerplate language regarding failures to “train,”

“supervise,” and/or “discipline,” this cannot save Boyer’s claim from dismissal. To start, Boyer’s

“conclusory allegations of failure to train are deficient . . . because [Boyer has] alleged nothing

suggesting a failure to train,” Harper v. Cty. of Delaware, 779 F. App’x 143, 147 (3d Cir. 2019),

and Boyer has failed to “specify the particular manner in which such training supposedly fell

short,” Castillo-Perez v. City of Elizabeth, No. 11-6958, 2014 WL 1614845, at *7 (D.N.J. Apr.

21, 2014). The same is true with respect to Boyer’s allegations regarding a failure to supervise or

discipline or to enact unspecified policies. See, e.g., Tirado v. Montgomery Cty., No. 12-00552,

2013 WL 1285487, at *8 (E.D. Pa. Mar. 29, 2013) (dismissing failure-to-supervise claim where

“the Complaint contains no facts related to the supervision of [particular employees] other than

the conclusory statements that Montgomery County did not properly train or supervise”). Nor

does he allege the requisite showing of patterns of constitutional misconduct sufficient to put the

policymaker on notice of the alleged training, supervision, or discipline deficiencies. See, e.g.,

Montgomery v. De Simone, 159 F.3d 120, 127 (3d Cir. 1998).

       Accordingly, Boyer’s Monell claim based on these theories is legally flawed and the

Court should dismiss Count 11.

       H.      Boyer has failed to state a claim for trespass to chattels (Count 12).

       In Count 12, Boyer alleges that Sgt. O’Shaughnessy, Lt. O’Leary, Det. Wallace, Lt.

Long, Det. Poulos, and Det. Glaviano are liable for trespass to chattels because they seized

Boyer’s firearm, ammunition, and cell phone. SAC ¶ 197. The Court should dismiss Count 12

because Boyer has failed to allege the elements of this claim against the named Defendants.

       The elements of trespass to chattel are “intentionally: (a) dispossessing another of the


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chattel or (b) using or intermeddling with a chattel in the possession of another.” Rosemont

Taxicab Co. v. Philadelphia Parking Auth., 327 F. Supp. 3d 803, 828 (E.D. Pa. 2018) (quoting

Restatement (Second) of Torts § 217 (1965)) (citing Pestco, Inc. v. Associated Prod., Inc., 880

A.2d 700, 708 (Pa. Super. 2005)). A person is “privileged to commit an act which would

otherwise be a trespass to a chattel” if acting pursuant to a valid court order or to authority

created by law. Rest.2d Torts §§ 265, 266.

       Boyer alleges three seizures of property: (1) his cell phone on December 6, 2019, by Lt.

Long and Det. Wallace, incident to executing an arrest warrant, SAC ¶¶ 61-66, 68; (2) his

firearm on October 19, 2021, by Lt. O’Leary after Boyer admitted he did not have a UFA license

while carrying a firearm in Philadelphia and Lt. O’Leary arrested him, id. ¶ 77; and (3) his

firearm in April 2022, by unnamed officers who arrested Boyer in response to the refiling of a

criminal complaint against Boyer for carrying a firearm in Philadelphia without a UFA license,

id. ¶¶ 78-80. Boyer concedes that all property was returned to him on May 8, 2023. Id. ¶ 89. As a

result, Boyer can only pursue tort liability for the temporary dispossession of his property. But

the SAC fails to allege the elements of liability for any of the incidents.

       First, Boyer has not alleged that Sgt. O’Shaughnessy, Det. Poulos, or Det. Glaviano

seized anything. The Court should dismiss Count 12 as to those defendants.

       Second, Boyer has not alleged any facts to suggest that Det. Wallace and Lt. Long lacked

legal authority to seize Boyer’s cell phone in December 2019. To the contrary, Boyer concedes

that Det. Wallace and Lt. Long arrested Boyer pursuant to an arrest warrant, id. ¶¶ 62-65, and

law enforcement are permitted to seize cell phones incident to a lawful arrest, Riley v. California,

573 U.S. 373, 403 (2014). Boyer does not allege any facts to suggest that the arrest warrant

lacked probable cause or was otherwise unlawful; to the contrary, he pleads that Sgt.




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O’Shaughnessy or another unnamed person obtained the arrest warrant “on the basis of briefly

viewing a firearm in a holster,” and Det. Wallace and Lt. Long executed that warrant. SAC

¶¶ 62, 64; see also 18 Pa. C.S. § 6108; Bigelow, 399 A.2d at 396; Com. v. Romero, 673 A.2d

374, 377 (Pa. 1996). As a result, Det. Wallace and Lt. Long are subject to the exception

permitting trespass to chattel when acting with legal authority. Rest.2d Torts §§ 265, 266.

       The same analysis governs the alleged seizure of Boyer’s firearm by unnamed officers in

April 2022, which by inference was incidental to Boyer’s arrest following the refiling of criminal

charges for the December 2019 violation of § 6108. SAC ¶ 80. Boyer has not alleged that any of

the named Defendants participated in the seizure, which is fatal.

       Third, Boyer has not alleged facts to suggest Lt. O’Leary lacked legal authority to seize

his firearm in October 2021. Boyer concedes that he was carrying a firearm in the CJC without a

license and that he did not provide a license to Lt. O’Leary when asked. SAC ¶¶ 50, 77. As

established above, these facts confirm that Lt. O’Leary had probable cause to arrest Boyer. 18

Pa. C.S. §§ 6106, 6108, 6122; Bigelow, 399 A.2d at 396; Romero, 673 A.2d at 377. Lt. O’Leary

further had authority to seize the firearm under the plain view exception to the Fourth

Amendment. See Menon, 24 F.3d at 559, Horton, 496 U.S. at 136-37. And, this alleged trespass

was subject to the exception for legal authority. Rest.2d Torts § 265.

       Finally, Boyer argues that because “the seizure was not authorized by a constitutional

statute, the foregoing Defendants were without privilege to interfere in Boyer’s continued

possession, ownership, and enjoyment of his property.” SAC ¶ 199. This legal argument merely

repackages his arguments in Count 1. Moreover, the UFA was constitutional at all times during

the events covered by Boyer’s complaint. The named Defendants cannot have committed a tort

when operating pursuant to lawful statutory authority. See Madero v. Luffey, 439 F.Supp.3d 493,




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517 (W.D. Pa. 2020), clarified on denial of reconsideration, No. 19-700, 2020 WL 9815453

(W.D. Pa. Mar. 13, 2020) (citing Rest.2d Torts, § 265).

        In sum, Boyer has failed to allege that any of the named Defendants trespassed on his

chattels. The Court should dismiss Count 12 against all named Defendants.

        I.      Boyer has failed to state a claim for assault and battery (Count 13).

        In Count 13, Boyer alleges that Sgt. O’Shaughnessy, Lt. O’Leary, Det. Wallace, Lt.

Long, Det. Poulos, and Det. Glaviano are liable for assault and battery for “having placed Boyer

in apprehension of harmful or offensive contact and did, in fact, engage in harmful or offensive

contact.” SAC ¶ 203. As Boyer has failed to allege any facts of assault and battery against any of

these individuals, this Count should be dismissed in full.

        Under Pennsylvania law, “[a]ssault is an intentional attempt by force to do an injury to

the person of another, and a battery is committed whenever the violence menaced in an assault is

actually done, though in ever so small a degree, upon the person.” Renk, 641 A.2d at 293; see

also, e.g., C.C.H. v. Phila. Phillies, Inc., 940 A.2d 336, 340 n.4 (Pa. 2008) (“A battery is defined

as a ‘harmful or offensive contact’ with the person of another.”). Boyer does not allege that Sgt.

O’Shaughnessy, Det. Poulos, or Det. Glaviano had any physical contact with Boyer whatsoever.

See, e.g., SAC ¶ 69 (alleging that Det. Poulos and Det. Glaviano searched Boyer’s home and

personal effects); id. ¶¶ 62, 69 (alleging that Sgt. O’Shaughnessy did not himself place Boyer

under an arrest but rather executed an affidavit of probable cause). While Boyer alleges that Det.

Wallace, Lt. Long, and Lt. O’Leary arrested him, Boyer does not allege that any force was used

or that he sustained any injury. Where officers effectuating an arrest “d[o] not utilize excessive

force,” let alone any force at all, a “[p]laintiff’s assault and battery claim fails under

Pennsylvania law.” Devine v. Middletown Twp., No. 14-1072, 2016 WL 4159436, at *9 (E.D. Pa.

Aug. 4, 2016); see also Renk, 641 A.2d at 293 (holding that where there is “no finding of


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excessive force by the officers . . . there can be no claim for liability for assault and battery”);

Postie v. Frederick, No. 14-317, 2016 WL 4521855, at *7 (M.D. Pa. Aug. 8, 2016) (“Postie’s

assault and battery claim against Sinton fails because there are no allegations in the second

amended complaint that he was actually injured during the arrest.”). Accordingly, Boyer’s

assault and battery claim should be dismissed in full against the City Defendants.

        J.      Boyer’s derivative conspiracy claims fail as a matter of law (Counts 12-14).

        In Counts 12-14, Boyer seeks to hold one or more of the City Defendants liable not only

for directly violating his constitutional and civil rights, but also for allegedly participating in a

conspiracy to do so. To prove a claim for conspiracy under § 1983, a plaintiff must establish (1)

the existence of a conspiracy involving state action; and (2) a deprivation of civil rights in

furtherance of the conspiracy by a party to the conspiracy. Jutrowski v. Twp. of Riverdale, 904

F.3d 280, 295 (3d Cir. 2018). Likewise, to bring a state conspiracy claim, a plaintiff must allege

“(1) a combination of two or more persons acting with a common purpose to do an unlawful act

or to do a lawful act by unlawful means or for an unlawful purpose; (2) an overt act done in

pursuance of the common purpose; and (3) actual legal damage.” Mills v. City of Phila., No. CV

14-593, 2023 WL 6520488, at *15 (E.D. Pa. Oct. 5, 2023) (quoting Jarzyna v. Home Props.,

L.P., 114 F. Supp. 3d 243, 278 (E.D. Pa. 2015)). Because Boyer fails to do so with respect to

either his federal or state law claims, dismissal of his conspiracy claims is warranted.

        First, “[t]o survive a motion to dismiss, a plaintiff must plead facts which support

allegations of a conspiracy.” Scott v. Twp. of Bristol, No. 90-cv-1412, 1990 WL 178556, at *5

(E.D. Pa. Nov. 14, 1990) (citing Robinson v. McCorkle, 462 F.2d 113 (3d Cir. 1972)). This

requires a plaintiff to do more than merely allege “in general terms the approximate time when

the agreement was made, the specific parties to the agreement . . . , the period of the conspiracy,

or the object of the conspiracy.” Great W. Mining & Min. Co. v. Fox Rothschild LLP, 615 F.3d


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159, 179 (3d Cir. 2010); see also, e.g., Scott, 1990 WL 178556, at *5 (allegations must

minimally include a description of the conspiracy’s membership, formulation and purpose (citing

Armstrong v. Sch. Dist. of Phila., 597 F. Supp. 1309, 1313 (E.D. Pa. 1984))).

       Boyer fails to allege facts showing how, why, or when the alleged conspiracies came into

existence, let alone sufficient factual allegations to discern who was a party of such conspiracy.

Boyer instead relies on conclusory allegations that the defendants “conspired . . . and acted in

furtherance of such conspiracy, or both.” SAC ¶¶ 177, 180, 183, 187, 190, 200, 205, 210. But

“[u]nder Twombly, ‘an allegation of parallel conduct will not suffice and mere conclusory

allegations are not enough.’” Deems v. Phillips, No. 18-2035, 2018 WL 6574184, at *3 (E.D. Pa.

Dec. 12, 2018) (internal quotation marks and citation omitted).

       Second, for the reasons discussed with respect to each count above, Boyer has failed to

allege viable underlying violations to support each of his conspiracy claims. It is a matter of

black letter law that “[a] section 1983 civil conspiracy requires a predicate federal violation.”

Saucon Valley Manor, Inc. v. Miller, 392 F. Supp. 3d 554, 586 n.7 (E.D. Pa. 2019). Likewise, for

a state law conspiracy claim, “[t]he established rule is that a cause of action for civil conspiracy

requires a separate underlying tort as a predicate for liability.” In re Orthopedic Bone Screw

Prod. Liab. Litig., 193 F.3d 781, 789 (3d Cir. 1999). Because Boyer has failed to establish any

underlying violations of his civil rights, his conspiracy claims fail as a matter of law.

       K.      The Individual City Defendants have qualified immunity (Counts 6-9).

       Finally, even if Boyer has alleged claims against the City Defendants in Counts 6-9, the

individual City Defendants have qualified immunity because any constitutional violation was not

clearly established at the time. “Qualified immunity protects government officials from civil

damages for conduct that ‘does not violate clearly established statutory or constitutional rights of

which a reasonable person would have known.’” Sauers v. Borough of Nesquehoning, 905 F.3d


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711, 716 (3d Cir. 2018) (quoting Pearson v. Callahan, 555 U.S. 223, 231 (2009)). “A right is

clearly established when the law is ‘sufficiently clear that every reasonable official would have

understood that what he is doing violates that right.’” Id. at 719 (quoting Reichle v. Howards,

566 U.S. 658, 664 (2012)). “[E]xisting precedent must have placed the statutory or constitutional

question beyond debate” when applied to the established facts. Id. (citation omitted)). Precedent

that would satisfy this standard must be from the relevant jurisdiction or a “robust consensus of

persuasive authority” in the appellate courts. Id. (citation omitted).

       Here, the underlying premise of Counts 6-9 is that the City Defendants did not have

authority under the UFA to arrest Boyer, seize his firearms, or deny him a license. But Boyer in

this lawsuit is alleging, for the first time, that the UFA violates the Second Amendment. He can

cite no Third Circuit precedent holding that the UFA’s licensing provisions are unconstitutional,

because none exists. Nor can he cite a consensus of decisions from other appellate courts

examining similar firearms licensing laws, as none exists there, either. Because the UFA was

constitutional at all times alleged in the SAC, the City Defendants have qualified immunity.

V.     CONCLUSION

       For the foregoing reasons, the Court should dismiss Boyer’s Second Amended Complaint

as against City Defendants, with prejudice.

                                               Respectfully submitted,

                                               CITY OF PHILADELPHIA LAW DEPARTMENT
Dated: December 18, 2023                       KRISTIN BRAY, Acting City Solicitor


                                               /s/ Danielle B. Rosenthal
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the date indicated below, I filed, via the Court’s ECF system, a

true and correct copy of the attached Defendants’ Motion and Memorandum of Law in Support

of Defendants’ Motion to Dismiss, which will accomplish service on all parties.



Date: December 18, 2023                              /s/ Danielle B. Rosenthal
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